      Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 1 of 11 PageID #:1



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 Wilneka Booker, individually and on behalf of all others
 similarly situated,                                                   Civil Action No: ____________
                                          Plaintiff,
                                                                        CLASS ACTION COMPLAINT

                                                                         DEMAND FOR JURY TRIAL




        -v.-
 Client Services, Inc. and John Does 1-25,

                                       Defendant.


       Plaintiff Wilneka Booker (hereinafter, “Plaintiff” or “Booker”), an Illinois resident, brings

this Class Action Complaint by and through her attorneys, RC Law Group, PLLC, against Defendant

Client Services, Inc. (hereinafter “Defendant” or “Client Services”), individually and on behalf of a

class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure,

based upon information and belief of Plaintiff’s counsel, except for allegations specifically

pertaining to Plaintiff, which are based upon Plaintiff's personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (“FDCPA”) in 1977 in

   response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

   that "abusive debt collection practices contribute to the number of personal bankruptcies, to

   material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress


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  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 2 of 11 PageID #:2



concluded that "existing laws…[we]re inadequate to protect consumers," and that "'the effective

collection of debts" does not require "misrepresentation or other abusive debt collection

practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

determining that the existing consumer protection laws were inadequate. Id § l692(b), Congress

gave consumers a private cause of action against debt collectors who fail to comply with the

Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                  NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Illinois consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory relief.

                                           PARTIES

   7.      Plaintiff is a resident of the State of Illinois, County of Cook, residing at 10135 S.

Sangamon Street, Chicago, IL 60643.
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 3 of 11 PageID #:3



   8.      Client Services is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6)

and used in the FDCPA with an address at 3451 Harry S Truman Blvd., Saint Charles, MO

63301.

   9.      Upon information and belief, Defendant is a company that uses the mail, telephone,

and facsimile and regularly engages in business the principal purpose of which is to attempt to

collect debts alleged to be due another.

   10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                    CLASS ALLEGATIONS
   11.     Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   12.     The Class consists of:

           a. all individuals with addresses in the State of Illinois;

           b. to whom Client Services sent an initial collection letter attempting to collect a

               consumer debt;

           c. that including false disclosures that interest, fees and costs are continuously

               accruing, or in the alternative, the creditor/and or Defendant has made the

               decision to waive accruing interest and fees, and would accept the amount stated

               on the collection letter as payment in full;

           d. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 4 of 11 PageID #:4



   13.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   15.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibit A, violate 15 U.S.C. §§ l692e and 1692g.

   16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   17.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 5 of 11 PageID #:5



          b. Common Questions Predominate: Common questions of law and fact exist as

              to all members of the Plaintiff Class and those questions predominance over any

              questions or issues involving only individual class members. The principal issue

              is \whether the Defendants' written communications to consumers, in the forms

              attached as Exhibit A violate 15 U.S.C. § l692e and §1692g.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

              The Plaintiff and all members of the Plaintiff Class have claims arising out of the

              Defendants' common uniform course of conduct complained of herein.

          d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

              class members insofar as Plaintiff has no interests that are adverse to the absent

              class members. The Plaintiff is committed to vigorously litigating this matter.

              Plaintiff has also retained counsel experienced in handling consumer lawsuits,

              complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

              any interests which might cause them not to vigorously pursue the instant class

              action lawsuit.

          e. Superiority: A class action is superior to the other available means for the fair

              and efficient adjudication of this controversy because individual joinder of all

              members would be impracticable. Class action treatment will permit a large

              number of similarly situated persons to prosecute their common claims in a single

              forum efficiently and without unnecessary duplication of effort and expense that

              individual actions would engender.

   18.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 6 of 11 PageID #:6



Classes predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   19.       Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                    FACTUAL ALLEGATIONS

   20.       Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   21.       Some time prior to June 20, 2017, an obligation was allegedly incurred to Fifth Third

Bank.

   22.       The Fifth Third Bank obligation arose out of subject transactions involving money,

property, insurance or services. Specifically, Plaintiff used the Fifth Third Bank funds for

personal, family or household purposes.

   23.       The alleged Fifth Third Bank obligation is a "debt" as defined by 15 U.S.C.

§1692a(5).

   24.       Fifth Third Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   25.       Fifth Third Bank or a subsequent owner of the Fifth Third Bank debt contracted with

the Defendant to collect the alleged debt.

   26.       Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 7 of 11 PageID #:7



                             Violation I – June 20, 2017 Collection Letter

    27.     On or about June 20, 2017, Defendant sent the Plaintiff an initial contact notice (the

“Letter”) regarding the alleged debt owed to Fifth Third Bank. See Letter at Exhibit A.

    28.     When a debt collector solicits payment from a consumer, it must, within five days

of an initial communication

    (1) the amount of the debt;

    (2) the name of the creditor to whom the debt is owed;

    (3) a statement that unless the consumer, within thirty days after receipt of the notice,

    disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

    valid by the debt collector;

    (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

    day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

    verification of the debt or a copy of the judgment against the consumer and a copy of such

    verification or judgment will be mailed to the consumer by the debt collector; and

    (5) a statement that, upon the consumer's written request within the thirty-day period, the

    debt collector will provide the consumer with the name and address of the original creditor,

    if different from the current creditor. 15 U.S.C. § 1692g(a).

    29.     The FDCPA further provides that ''if the consumer notifies the debt collector in

writing within the thirty day period . . . that the debt, or any portion thereof, is disputed . . . the

debt collector shall cease collection . . . until the debt collector obtains verification of the

debt . . . and a copy of such verification is mailed to the consumer by the debt collector.'' 15

U.S.C. § 1692g(b).
  Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 8 of 11 PageID #:8



   30.     Although a collection letter may track the statutory language, ''the collector

nevertheless violates the Act if it conveys that information in a confusing or contradictory

fashion so as to cloud the required message with uncertainty.'' Russell v. EQUIFAX A.R.S., 74

F.3d 30, 35 (2d Cir. 1996) (''It is not enough for a debt collection agency to simply include the

proper debt validation notice in a mailing to a consumer-- Congress intended that such notice

be clearly conveyed.''). Put differently, a notice containing ''language that 'overshadows or

contradicts' other language informing a consumer of her rights . . . violates the Act.'' Russell,

74 F.3d at 34.

   31.     The top of the letter states “Balance Due: $8,439.29”

   32.     Several paragraphs below the letter states:

           “As of the date of this letter, the balance due is $8,439.29. On the date
           you make payment, the balance due may be greater because of interest
           or other charges.”

   33.     Defendant is aware that during the collection of this debt the balance will not vary at

all and stating that it may increase is merely a deceptive collection tactic.

   34.     The threat of a balance increase overshadows the ''g-notice'' language and coerces

the consumer not to exert her rights under the Fair Debt Collection Practices Act.

   35.     This language is confusing to Plaintiff since it is unclear as to whether or not the

account was actually currently accruing interest.

   36.     Plaintiff incurred an informational injury because Defendant falsely threatened that

interest may be accruing on her account when Defendant knew that it was not. As a result,

Plaintiff felt pressure to pay immediately in order to avoid additional interest on the account.

   37.     As a result of Defendant's deceptive, misleading and unfair debt collection practices,

Plaintiff has been damaged.
    Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 9 of 11 PageID #:9



                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     38.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     39.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     40.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     41.     Defendant violated §1692e :

             a. As the Letter it is open to more than one reasonable interpretation, at least one of

                 which is inaccurate.

             b. By making a false and misleading representation in violation of §1692e(10).

     42.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.


                                COUNT II
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692g et seq.

     43.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     44.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

     45.      Pursuant to 15 USC §1692g, a debt collector:
Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 10 of 11 PageID #:10



           Within five days after the initial communication with a consumer in connection with

   the collection of any debt, a debt collector shall, unless the following information is

   contained in the initial communication or the consumer has paid the debt, send the consumer

   a written notice containing –


                   1. The amount of the debt;

                   2. The name of the creditor to whom the debt is owed;

                   3. A statement that unless the consumer, within thirty days after receipt of

                       the notice, disputes the validity of the debt, or any portion thereof, the

                       debt will be assumed to be valid by the debt-collector;

                   4. A statement that the consumer notifies the debt collector in writing within

                       thirty-day period that the debt, or any portion thereof, is disputed, the debt

                       collector will obtain verification of the debt or a copy of a judgment

                       against the consumer and a copy of such verification or judgment will be

                       mailed to the consumer by the debt collector; and

                   5. A statement that, upon the consumer’s written request within the thirty-

                       day period, the debt collector will provide the consumer with the name

                       and address of the original creditor, if different from the current creditor.

   46.     The Defendant violated 15 U.S.C. §1692g, threatening of a balance increase, which

overshadows the ''g-notice'' language and coerces the consumer not to exert its rights under the

FDCPA.

   47.      By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.
    Case: 1:18-cv-03414 Document #: 1 Filed: 05/14/18 Page 11 of 11 PageID #:11




                                 DEMAND FOR TRIAL BY JURY

       48.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

   a trial by jury on all issues so triable.


                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff Wilneka Booker, individually and on behalf of all others similarly

situated, demands judgment from Defendant Client Services, Inc. as follows:


       1.      Declaring that this action is properly maintainable as a Class Action and certifying

   Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

       2.      Awarding Plaintiff and the Class statutory damages;

       3.      Awarding Plaintiff and the Class actual damages;

       4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

       5.      Awarding pre-judgment interest and post-judgment interest; and

       6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


       Dated: Hackensack, New Jersey
              May 14, 2018

                                                                    /s/ Yaakov Saks
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